                             UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                            DOCKET NO. 3:11-cr-00190-MOC-DSC

UNITED STATES OF AMERICA,                      )
                                               )
                                               )
                                               )
Vs.                                            )                       ORDER
                                               )
KIMBERLY MORRIS,                               )
                                               )
                 Defendant.                    )



        THIS MATTER is before the court on defendant’s pro se letter dated June 18, 2013,

which the court earlier interpreted to be a potential post-judgment Motion to Vacate, Alter or

Amend Judgment. In accordance with Castro v. United States, 540 U.S. 375 (2003), defendant

was advised that the court intended to re-characterize this motion as an attempt to file a motion

under Section 2255. In her timely responsive Letter (#169), defendant states that she now wishes

to withdraw her original letter and “dismiss the notion of filing a Rule 35(b), as well as re-

characterizing the filing pursuant to Section 2255.” Id. at 1. The court determines that this is a

Rule 41(a) voluntary dismissal of her motion and any potential Section 2255 claim without

prejudice.

                                          ORDER

        IT IS, THEREFORE, ORDERED that based upon defendant’s voluntary dismissal

without prejudice, defendant’s pro se letter dated June 18, 2013, is WITHDRAWN, and the

converted motion to vacate (#165) is TERMINATED without prejudice.

             Signed: July 22, 2013




      Case 3:11-cr-00190-MOC-DSC          Document 170        Filed 07/22/13     Page 1 of 1
